             Case 4:07-cv-05944-JST Document 1199-7 Filed 05/18/12 Page 1 of 2




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 99                               UNITED STATES DISTRICT COURT

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10                            NORTHERN DISTRICT OF CALIFORNIA

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11                                    SAN FRANCISCO DIVISION

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      IN RE: CATHODE RAY TUBE (CRT)
13
13    ANTITRUST LITIGATION                           Master File No. CV-07-5944-SC

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14                                                   MDL No. 1917
15
15                                                   [PROPOSED] ORDER TO SHOW CAUSE
      This Document Relates to:                      REGARDING FINDING OF CIVIL
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16                                                   CONTEMPT AND AWARD OF SANCTIONS
      ALL INDIRECT-PURCHASER ACTIONS                 AGAINST OBJECTOR SEAN HULL
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20           This matter came before the Court on Indirect Purchaser Plaintiffs’ (“IP Plaintiffs”)
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21    Motion for an Order to Show Cause Regarding Finding of Civil Contempt and Award of
22
22    Sanctions Against Objector Sean Hull. The Court, having reviewed the papers filed in support of
23
23    the motion, and good cause appearing, IP Plaintiffs’ Motion is hereby GRANTED.
24
24           Objector Sean Hull is hereby ORDERED TO SHOW CAUSE why this Court should not
25
25    find him in civil contempt and sanction him for his failure to comply with the Court’s Order
26
26    Granting Indirect Purchaser Plaintiffs’ Motion To Compel Discovery From Objector Sean Hull
27
27    (the “Order”) (ECF No. 1155). Unless otherwise ordered by the Court, this matter shall be heard
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28
                                                   1
      [PROPOSED] ORDER TO SHOW CAUSE REGARDING FINDING OF CIVIL CONTEMPT AND AWARD OF
                            SANCTIONS AGAINST OBJECTOR SEAN HULL
                             Master File No. CV-07-5944-SC, MDL No. 1917
               Case 4:07-cv-05944-JST Document 1199-7 Filed 05/18/12 Page 2 of 2




 11   on ___________, 2012 at ________ __.m. before Special Master Charles A. Legge, JAMS, Two

 22   Embarcadero Center, Suite 1500, San Francisco, California. Hull shall file, and serve on IP

 33   Plaintiffs’ Counsel by email, any response by no later than _______________, 2012.

 44   SO ORDERED:

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 66   Dated:                       , 2012.

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                                                          Hon. Charles A. Legge (Ret.)
 88                                                       Special Master
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      [PROPOSED] ORDER TO SHOW CAUSE REGARDING FINDING OF CIVIL CONTEMPT AND AWARD OF
                            SANCTIONS AGAINST OBJECTOR SEAN HULL
                             Master File No. CV-07-5944-SC, MDL No. 1917
